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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF OHIO
                                    CINCINNATI DIVISION



PATRICK BROOKS,et al.,                       :              Case No. 1:21 -cv-665
                                                            Judge Dlott
        Plaintiffs,                          :

V.                                           :


BUTLER COUNTY,et al.,

       Defendants.                           ;




                      ORDER GRANTING PLAINTIFFS' MOTION FOR
                      TEMPORARY RESTRAINING ORDER IN PART



       The Court hereby grants Plaintiffs' Motion for a Temporary Restraining Order requesting

that this Court enjoin "any and all decisions and variances that Butler County, Alan Daniel, and

the Butler County Board ofZoning Appeals issued at the February 16, 2021 hearing..." in part.

The variances issued by the Butler County Board ofZoning Appeals relating only to application

BZA21-08V for CD DG Germantown LLC for the property located at 8383 Keister Rd.,

Middletown, OH 45042 ("the Property"), on February 16, 2021, and any subsequent building,

zoning, or occupancy permits issued to effectuate the variances are hereby enjoined. Specifically,

the following variances:

       1.)     The variance allowing more than ten percent parking in the front yard of the

       Property;

       2.)     The variance waiving the landscaping requirement;

       3.)     The variance reducing the front yard setback requirement;

       4.)     The variance reducing the number of parking spaces required; and
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       5.)     The variance waiving the setback requirement on parking lots.

       All building and permit activity which does not relate to the aforementioned variances shall

remain permitted on the Property and shall not be so enjoined by grant ofthis Order.

       For good cause, this Order will remain in effect for twenty-eight days until November 17,

2021 so that the matter can be fully briefed and ruled upon as a Motion for Preliminary

Injunction.



       IT SO ORDERED,




                                                                  Q., 'DlldtJ
                                            Honorable Susan J.
                                            United States District^ourt
